Case 23-12065-MBK         Doc 42    Filed 12/27/23 Entered 12/27/23 13:58:23            Desc Main
                                   Document      Page 1 of 7


      KAREN E. BEZNER, ESQ.
      567 Park Avenue, Suite 103
      Scotch Plains, New Jersey 07076
      (908) 322-8484
      Attorney for Karen E. Bezner, Trustee
      Karen E. Bezner
      KB 5770
                             UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF NEW JERSEY
      ___________________________________
                                          :     In Proceedings for Liquidation
      In the Matter of:                   :     under Chapter 7 of the Bankruptcy
                                          :     Code
      IOANA NEDELCU,                      :
                                          :     Hon. Michel B. Kaplan, C.U.S.B.J.
                                          :
                     Debtor.              :     Bankruptcy No. 23-12065
                                          :
      ___________________________________:
       OBJECTION BY KAREN E. BEZNER, TRUSTEE TO MOTION BY VICTOR GOLDBERG
                         TO DISMISS THIS CHAPTER 7 CASE

              Karen E. Bezner, Chapter 7 Trustee, by way of objection, states as follows:
              1)      I am the trustee appointed in the above-referenced case. As such, I have direct
      knowledge of the facts contained in this objection, and I am authorized to make this objection on
      behalf of this estate.
              2)      I make this objection to Mr. Goldberg’s motion to dismiss this Chapter 7 case, for
      abuse pursuant to 11 U.S.C. Section 707(b) and fraud pursuant to 11 U.S.C. Section 727(a).
              3)      In examining Mr. Goldberg’s motion, it is worth noting that he states his intent to
      dismiss this Chapter 7 case so as to preserve his ownership interest in the real property at 40 Essex
      Road, Maplewood, New Jersey to the exclusion of the debtor. This goal is consistent with all of his
      filings thus far.
              4)      In addressing Mr. Goldberg’s motion, I will examine each document in the order that
      it was submitted.
              Document #1, Motion To Dismiss, 20-Pages
              5)      In this document, Mr. Goldberg analyzes the debtor’s petition, line by line,
      to allege fraud and abuse.
Case 23-12065-MBK        Doc 42      Filed 12/27/23 Entered 12/27/23 13:58:23             Desc Main
                                    Document      Page 2 of 7


              6)       At Page 2, Paragraph 7, Mr. Goldberg notes that, in response to the question “Are
      you a sole proprietor of any full or part-time business?” Ms. Nedelcu answered “No”. Mr. Goldberg
      is referring to Treasure Island, a company which appears to have ceased doing business some years
      prior to the filing of this petition.
              7)       At Paragraphs 27 through 31, Mr. Goldberg repeats the debtor’s answers to the
      Statement of Financial Affairs, but never says what, if anything, about the debtor’s answers is untrue
      or inaccurate.
              8)       Mr. Goldberg presents his legal authority at Page 7, Paragraph 32, citing 11 U.S.C.
      Section 707(a) of the Bankruptcy Code (not 707(b)) as his sole grounds for alleging that Ms. Nedelcu
      has committed fraud or otherwise abused the system. The grounds noted at Sections 707(a) are (1)
      unreasonable delay by the debtor that is prejudicial to creditors; (2) non-payment of any fees and
      charges; and (3) failure of the debtor in a voluntary case to file, within 15-days or such additional
      time as the court may allow, the information required by Section 521. None of these grounds are
      applicable in this case.
              9)       Nevertheless, Mr. Goldberg generically refers to “bad faith” and cites a number of
      cases in his support, none of which appear to share any characteristics of the present case.
              10)      At Paragraph 42, Mr. Goldberg alleges bad faith in the debtor’s failure to reveal their
      joint interest in Treasure Island Interiors, a used furniture store which appears to have closed in or
      about 2021.
              11)      At Paragraph 44, Mr. Goldberg alleges that Ms. Nedelcu committed various crimes
      in the past for which she has been prosecuted. Again, there is no explanation as to why these facts
      bear any relationship to the current petition.
              12)      At Paragraph 45, Mr. Goldberg alleges that the debtor failed to schedule her
      ownership interest in properties in Romania, and annexed a 21-page “Fraud Report” prepared by
      Jennifer Ostwald, a “Certified Fraud Examiner” who, as the Trustee has previously observed, is not
      licensed by any governmental entity; has no apparent education or experience which qualifies her


                                                        -2-
Case 23-12065-MBK       Doc 42     Filed 12/27/23 Entered 12/27/23 13:58:23             Desc Main
                                  Document      Page 3 of 7


      to render the report; and who specifies in the report that she relies solely on information provided
      by Mr. Goldberg to reach her conclusions. The report does not qualify as “evidence” for purposes
      of this case.
              13)     In fact, Ms. Nedelcu revealed her ownership interest in one property in Romania in
      the case information statement for her matrimonial proceeding.           The Trustee has obtained
      translations of the deeds to the various properties referred to by Mr. Goldberg, and describes their
      contents at Paragraphs 36 - 41 below.
              14)     At Paragraph 49, Mr. Goldberg references claims against the homeowners insurance
      for the Maplewood property, the dates for which are not provided. Mr. Goldberg himself solicited
      one such insurance claim, the proceeds of which has been held by the matrimonial court for ultimate
      turnover to the Trustee.
              15)     Throughout the rest of this submission, Mr. Goldberg repeats the same issues he
      previously raised. None of these issues amounts to fraud, concealment of assets or other cause to
      dismiss this Chapter 7 case. Moreover, most of Mr. Goldberg’s accusations are submitted without
      any documentary evidence, making the truth of those accusations highly suspect.
              16)     The Trustee respectfully submits that there is nothing in Mr. Goldberg’s motion
      which warrants dismissal of the case, for fraud, bad faith, or for any other reason.
              17)     At Paragraph 59, Mr. Goldberg says that the debtor “continued her false oaths and
      concealment at the 341(a) meeting of the creditors”. I re-played the 341(a) meeting, which I have on
      tape, and Mr. Goldberg did not appear at that meeting. Moreover, the debtor committed no false
      oath or concealment at that meeting. Mr. Goldberg never asked me for a copy of the audio tape.
              Document #2, Certification, 1-Page
              18)     This is the certification page for the transcriber of a hearing in Superior Court on
      October 28, 2016.




                                                       -3-
Case 23-12065-MBK         Doc 42    Filed 12/27/23 Entered 12/27/23 13:58:23            Desc Main
                                   Document      Page 4 of 7


             Document #3, Reply To Surreply, 4-Pages
             19)     Mr. Goldberg continues to accuse the debtor of hiding substantial assets. He is sure
      that she owns multiple properties in Romania, because he has the documents (in Romanian) and he
      sees her name cited therein. Accordingly, he reasons, she must own the properties which are the
      subject of those documents. The translation of these documents confirms that she does not.
             20)     I have annexed a copy of the translation of these documents as Exhibit A, and an
      explanation of that translation at Paragraphs 36 - 41 below.
             Document #4, Exhibit 1, 86-Pages
             21)     This submission is a transcript of a hearing on the debtor’s application for a
      protective order on June 8, 2016. The transcript covers the first day of hearings, not subsequent
      dates of hearing.
             22)     The 86-page transcript describes a horrific series of beatings administered to Ms
      Nedelcu by Mr. Goldberg over a period of time, resulting in her inability to raise her right arm and
      her confinement to a wheel chair due to spinal damage.
             23)     There is nothing of any evidentiary value in this transcript, and the reason for its
      inclusion is a mystery.
             Document #5, Exhibit 2, 6-Pages
             24)     This submission consists of a certificate of formation for Treasure Island Interiors,
      LLC dated April 28, 2015. The submission is accompanied by a letter dated July 31, 2020 by
      Stewart I. Schmier of Bottom Line Investigations, wherein he provides information concerning Ms.
      Nedelcu’s past.
             25)     I have reviewed the letter, and there is nothing therein which has any bearing on this
      bankruptcy case. It appears that the purpose of this submission is to smear Ms. Nedelcu’s character.
      Moreover, there is no copy of any of the information provided Mr.Schmier, so that the conclusions
      he reaches cannot be verified.




                                                      -4-
Case 23-12065-MBK       Doc 42     Filed 12/27/23 Entered 12/27/23 13:58:23              Desc Main
                                  Document      Page 5 of 7


             Document #6, Exhibit 2, 12-Pages
             26)     This submission contains all of the documents in Document #5, to which is added
      documents from the debtor’s matrimonial case, including the Case Information Statement. The
      debtor lists her ownership interest in a Romanian property in the CIS, and the Trustee has obtained
      a more detailed description of the property from Ms. Nedelcu and her attorney. Other than that, there
      is nothing relevant to the bankruptcy case in the Case Information Statement.
             Document #7, Exhibit 2, 18-Pages
             27)     This document is again the Certified Fraud Report prepared by Ms. Ostwald.
             28)     As stated above, Ms. Ostwald confirms that her methodology in preparing this report
      was to take allegations given to her by Mr. Goldberg without performing any independent
      investigation as to the truth of those allegations. This methodology guarantees that this report is not
      evidential. Ms. Ostwald does go to some lengths to respond to the Trustee’s concerns about her
      qualifications. Those concerns are not allayed.
             Document #8, Exhibit 3, 14-Pages
             29)     These documents appear to be different from the ones previously obtained by the
      Trustee concerning properties in Romania. The translation of those documents, which the Trustee
      received from the debtor’s former husband, Cornel Nedelcu, are annexed hereto as Exhibit A. These
      documents provide as follows.
             The Romanian Properties
             30)     At ECF No. 32, filed on November 15, 2023, Mr. Goldberg submits a 234-page
      appraisal prepared by Townsend Estates in Romania on November 16, 2021. The appraisal covers
      one (1) residential property in Potlogi Commune, Dambovita County, Romania, and three (3)
      apartments in Bucharest.
             31)     On the first page of the appraisal, third paragraph, the appraiser notes that “such
      variables and internal dilapidations and structural integrity are outside the scope of the evaluation,
      and are therefore unable to report that any such parts as free from defects”. Moreover, at Paragraph


                                                       -5-
Case 23-12065-MBK       Doc 42     Filed 12/27/23 Entered 12/27/23 13:58:23              Desc Main
                                  Document      Page 6 of 7


      2.1, the appraiser states that he has not performed a structural survey nor an inspection of the
      premises.
             32)     In short, this appraisal is hypothetical only.
             33)     The Certified Fraud Report which appears as Exhibit 1 to ECF No. 33, notes, at Page
      15 that Ms. Nedelcu purchased the Potlogi property from her ex-husband for $40,000.00. The
      alternative valuation of between $310,000 and $350,000 comes from the Townsend Estates
      Appraisal.
             34)     This property was described by Ms. Nedelcu, and appears to have severe
      structural and aesthetic issues. It was described to me as a “roof held up by four shaky walls”, and
      little else, without utilities or septic. This appears consistent with the $40,000.00 purchase price
      noted by the Certified Fraud Report, and much more realistic than the hypothetical appraisal
      prepared by Townsend Associates.
             35)     Because administration and sale of the property will exceed the value of the property
      to the estate, I will submit my notice of abandonment. It also appears that all legitimate creditors of
      the estate can be paid in full from the proceeds of sale of the Essex Road, Maplewood property.
             The Deed Translations
             36)     The deeds given to me by Cornel Nedelcu appear annexed hereto as Exhibit A. The
      first page is a “Certificate of Translation” prepared by Romtranslation, Inc., i.e., Roxana Dinu, a
      certified member of the American Translator’s Association to whom I was referred by Popescu Law
      Firm in Old Bridge, New Jersey. The cost of the translation was $750.00.
             37)     The second document is from the Bucharest Court, Fifth Civil Division which
      reviewed the judgment of divorce issued by the Queens County Family Court on November 21, 2008
      and found that it was a valid judgment which would be accorded full enforcement as a foreign
      judgment.




                                                       -6-
Case 23-12065-MBK      Doc 42       Filed 12/27/23 Entered 12/27/23 13:58:23           Desc Main
                                   Document      Page 7 of 7


             38)     The next four pages are a Voluntary Partition Agreement which describes Apartment
      No. 8 in Bucharest, and the property in Potlogi. The Voluntary Partition Agreement provides that
      Mr. Nedelcu will retain Apartment No. 8, and Ms. Nedelcu will retain the Potlogi property.
             39)     The next document is entitled “Authentication No. 1442" which authenticates the
      Voluntary Partition Agreement which proceeds it.
             40)     The next four pages are two, 2-page contracts of sale/purchase of apartments in
      Bucharest by Cornel Nedelcu. These deeds confirm that only Mr. Nedelcu had an interest in these
      properties during the course of the marriage. Ms. Nedelcu never had an interest in these two
      apartments.
             41)     In short, these documents confirm that Ms. Nedelcu paid $40,000.00 for the Potlogi
      residence to her ex-spouse, in a settlement agreement. Mr. Nedelcu retained an apartment in
      Bucharest. Mr. Nedelcu also owned two other apartments in Bucharest to which Ms. Nedelcu never
      had an ownership interest.
             42)     Mr. Goldberg’s allegation that Ms. Nedelcu owned the Potlogi residence and three
      apartments in Bucharest, is an unsupported fabrication. Ms. Nedelcu retains the Potlogi property,
      for which she paid $40,000.00 to her ex-spouse in settlement of the divorce case.
             Conclusion
             43)     For all of the foregoing reasons, Mr. Goldberg has failed to produce any facts or law
      to support his motion to dismiss, and his motion should be denied.


                                                   KAREN E. BEZNER, ESQ.
                                                   Counsel to Karen E. Bezner, Trustee


                                                   By:     /s/ Karen E. Bezner
                                                           Karen E. Bezner

      December 27, 2023



                                                     -7-
